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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 WP COMPANY LLC,

                Plaintiff,

        v.
                                                            Civil Action No. 23-3333 (TJK)
 DEFENSE COUNTERINTELLIGENCE AND
 SECURITY AGENCY,

                Defendant.



                      DECLARATION OF CHRISTINA BIANCO

       Pursuant to 28 U.S.C. § 1746, I, Christina F. Bianco, hereby declare under penalty


of perjury that the following is true and correct to the best of my knowledge:

(1)    Since October 23, 2022, I have held the position of Supervisory Government

       Information Specialist (Supervisor) in the Freedom of Information Act (FOIA) and

       Privacy Office for Investigations (FOI/P) of the Defense Counterintelligence and

       Security Agency (DCSA). As a supervisor, among other things, I am responsible for

       overseeing the processing of incoming requests for information made under the

       FOIA. In this capacity, I perform in-depth analysis of each FOIA request and verify

       that all information responsive to that request was obtained from custodian offices

       within the DCSA.       I analyze the responsive records pursuant to FOIA laws,

       Department regulations and policies to ensure full responsiveness in our productions.

       The statements in this declaration are based upon my personal knowledge and upon my

       review of information available to me in my official capacity.

(2)    I am familiar with the FOIA request made by the Washington Post, Plaintiff, through
                                                                                             n




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      national security reporter, Alex Horton, for the investigative and adjudicative records

      of Airman First Class (A1C) Jack Teixeira. The purpose of this declaration is to

      address the searches conducted by FOI/P in response to the Plaintiff’s FOIA request

      and the withholding of A1C Teixeira’s investigative and adjudicative records

      pursuant to FOIA exemptions 6 and 7(c), 5 U.S.C §552 (2018).



                              REQUEST OF RECORD TO DCSA


(3)   On August 8, 2023, Plaintiff submitted a FOIA request to FOI/P for the investigative
                                                                                    e




      and adjudicative files of A1C Jack Teixeira and the name of the company, and

      investigator, that conducted his DCSA background investigation. The Plaintiff’s

      August 8, 2023, requester letter is attached as Exhibit A. This request was received

      by FOI/P on August 9, 2023, and assigned tracking number DCSA-B 23-10987.

(4)   In response to this request, a FOI/P Government Information Specialist, familiar with

      the subject matter requested, searched the Personnel Investigations Processing

      System (PIPS) by A1C Teixeira ’s name and SSN for any investigative records the

      DCSA might maintain on him. This system was searched because investigative

      records of the type requested by the Plaintiff are stored in that system and can be

      accessed by a subject’s SSN. This search produced a complete copy of the subject’s

      investigative file totaling eighty-nine (89) pages. A search was also conducted of the

      Defense Information System (DISS) and the Defense Index of Investigations (DCII)

      system for adjudicative records maintained on A1C Teixeira.       These systems have

      been designated as personnel vetting systems and would contain those adjudicative

      records requested by the Plaintiff. The DCII is an automated central index that

      identifies investigations conducted by DoD investigative     agencies. These systems

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      were searched by the Plaintiff’s Social Security number (SSN), which was calculated

      to locate those inter-agency and intra-agency communications and those records upon

      which the denial or revocation of his security clearance was based. The records in

      these systems are retrievable by the SSN of the individual on whom they are

      maintained. A search of the DISS system yielded twenty (20) documents responsive

      to the Plaintiff’s request. A search of the DCII did not produce any responsive

      records.

(5)   FOI/P responded to Plaintiff’s FOIA request on September 14, 2023, withholding

      one-hundred and nine (109) pages in full pursuant to FOIA Exemptions 6 and 7(c).

      The September 14, 2023, FOI/P response letter is attached as Exhibit B.           On

      September 21, 2023, Plaintiff appealed FOI/P’s September 14, 2023, response noting

      a “strong public interest” in AIC Teixeira’s investigative file.


                     DESCRIPTION OF RECORDS RESPONSIVE
                          TO PLANTIFF’S REQUESTS



(6)   The DCSA completed a Tier 5 (T5) background investigation on A1C Teixeira on May
                 n                                                                        t




      4, 2020, for the U.S. Department of the Air Force, Air National Guard. A Special

      Agreement Check (SAC) was also completed on him on February 9, 2020. The T5 is

      a total of eighty-eight pages (88) and contains a Case Closing Transmittal (CCT) and

      other DCSA administrative processing forms; a copy of the Electronic Questionnaires

      for Investigations Processing (e-QIP) signed by A1C Teixeira on November 18, 2019;

      a Report of Investigation (ROI) containing interviews conducted under oath on March

      11, 2020, and April 29, 2020, and the results of various searches typically conducted

      during a T5 to include: educational records, residential history, employment history,

      local law enforcement checks, medical records, etc . . . . The SAC consists of one (1)
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      page and contains the results of an inquiry made with the Federal Bureau of

      Investigation for any arrest records they might maintain on A1C Teixeira. The DCSA

      also identified twenty (20) pages of adjudicative records responsive to the Plaintiff’s

      request to include a two (2) page internal working document, a memorandum sent to,

      and received from, the United States Air Force, a “read-ahead’ memorandum

      containing two open-source news articles and a one (1) page incident report.

                        JUSTIFICATION FOR NON-DISCLOSURE
                                      UNDER THE FOIA


                                FOIA EXEMPTIONS 6 and 7(c)

(7)   FOIA exemption (b)(6), 5 U.S.C. §552(b)(6), permits the Government to withhold

      information about individuals when the disclosure of such information “would

      constitute a clearly unwarranted invasion of personal privacy.” Similarly, FOIA

      exemption 7(c), 5 U.S.C. §552(b)(7)(c), protects from release information contained

      in law enforcement records that “could reasonably be expected to constitute an

      unwarranted invasion of personal privacy. As they are conducted “to determine

      whether there are any law enforcement issues” in the applicants “past that could affect

      [their] ability to carry out the position,” it is well established that DCSA background

      investigations are conducted for “law enforcement purposes” and fall within the ambit

      of FOIA exemption (b)(7). Mittleman v. Office of Personnel Management, 76

      F.3d1240, 1243 (D.C. Cir. 1999) (per curiam).

(8)   FOI/P regularly applies FOIA exemptions (b)(6) and (b)(7)(c) when considering the

      release of investigative and adjudicative files in response to third-party requests. In

      doing so, FOI/P employs a balancing test when determining the applicability of both

      exemptions to the records requested, weighing the privacy interests of the individuals

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      therein against the public’s interest in the requested information. The DCSA regularly

      withholds background investigations and adjudicative files in full as the information

      contained therein is highly personal to the subject and typically includes their Personal

      Identifiable Information (i.e., Social Security Number, financial records/account

      numbers, medical records, education records, etc. . .), the names and contact

      information of relatives and personal references, the results of national agency and

      law checks typically conducted, the details of interviews conducted with sources the

      disclosure of which might not only create unwarranted invasion of personal privacy

      in the subject in the present but also impair the DCSA’s ability to obtain such

      information in the future if sources believed they could not speak candidly as the

      information provided might be released to the public. FOI/P considered the charges

      A1C Teixeira is facing and the public’s interest in the contents of those files and

      determined the probative value of releasing case specific information, such that it

      might shed light on the DCSA’s execution of its statutory duties, does not outweigh

      the significant privacy interests he retains therein. To the contrary, FOI/P determined

      A1C Teixeira’s privacy interests were heightened as any successful defense he might

      make to the charges he faces would be hindered if portion of his file were released

      and subject to public speculation. A1C Teixeira retains a significant and legitimate

      personal privacy interest in the materials requested by the Plaintiff and, given those

      accusations made against him, there is a reasonable probability of future harassment

      or a risk of harm or reprisals to him, and any individuals named therein, if any portions

      of those materials were released to be publicly disclosed.

(9)   FOI/P conducted the requisite foreseeable harm analysis under the FOIA and for those

      reasons mentioned determined that the disclosure of A1C Teixeira’s investigative and


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       adjudicative files would cause him an unwarranted invasion of personal privacy of

       the type FOIA exemptions (b)(6) and (b)(7)(c) are meant to protect against.


                                      FOIA EXEMPTION 3

(10)   The DCSA regularly withholds that information within personnel vetting records

       specifically exempt from disclosure by law. 5 U.S.C. § 552(b)(3). The Bank Secrecy

       Act provides that “a [Bank Secrecy Act] report and record of reports are exempt from

       search and disclosure under section 552 Title 5, and may not be disclosed under any

       State, local tribal, or territorial “freedom of information”, “open government”, or

       similar law” 31 U.S.C. §5319 (emphasis added); Ortiz v. DOJ, No. 12-1674, 2014

       WL 4449686, at *4 (D.D.C. Sept. 9, 2014; Rosenberg v. ICE, 13 F.Supp. 3d 92, 114-

       15 (D.D.C. 2014). Pursuant to this statutory authority, FinCEN promulgated a

       regulation exempting BSA records from FOIA disclosure. 31 C.F.R. §103.54.

(11)   Although not applied by FOI/P in the September 14, 2023, response, FOIA exemption

       (b)(3) may be applied to the results of those searches the DCSA conducts of Bank

       Secrecy Act reports maintained on the A1C Teixeira by FinCEN. By agreement and

       on behalf of FinCEN, the DCSA applies FOIA exemption (b)(3) to any search results

       returned, positive or negative, as those records are exempt from search and disclosure

       under the Bank Secrecy Act and regulations promulgated by the FinCEN thereunder.

       The application of FOIA exemption (b)(3) is limited to the results of searches made

       of FinCEN indices. The DCSA is statutorily prohibited from releasing any details

       regarding searches made of FinCEN Bank Secrecy Act indices.

(12)   It is foreseeable that to disclose any information DCSA redacts on behalf of FinCEN

       pursuant to FOIA exemption by (b)(3) would constitute a harm of which that

       exemption was enacted to protect, namely, information would be released that is

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       statutory protected from release under the Bank Secrecy Act and those relevant

       FinCEN regulations promulgated thereunder. FOIA exemption (b)(3) was therefore,

       properly applied.

                                       FOIA EXEMPTION 5

(13)   Although not applied by FOI/P, certain portions of A1C Teixeira’s adjudicative records are

       exempt from release pursuant to FOIA exemption (b)(5). FOIA exemption (b)(5) protects

       “inter-agency or intra-agency memorandums or           letters which would not be

       available by law to a party other than an agency in litigation with the agency.” 5 U.S.C

       §552(b)(5). FOIA exemption (b)(5) protects not only those predecisional deliberative

       process type communications but also incorporates those privileges typically found

       in civil discovery to include attorney-client privilege. This information consists of

       predecisional deliberative communications and advisory opinions within intra-agency

       working documents maintained as part of A1C Teixeira’s adjudicative file. Any final

       determination regarding A1C Teixeira’s fitness to maintain a security clearance

       would not alter the predecisional character of those communications.

(14)   The requisite foreseeable harm analysis has been conducted in considering the

       application of FOIA exemption (b)(5). FOI/P has determined that releasing those

       portions of the A1C Teixeira’s adjudicative records containing predecisional

       deliberative process communications withheld would inhibit the future exchange of

       such information if the adjudicative personnel undertaking those deliberations

       believed the comments and/or recommendations they make might be released to the

       subject of that adjudication or, as in this case, the public at large. Any uncertainty in

       the confidentiality of the information exchanged will create a chilling effect in the

       adjudicative process undermining that discretion committed to the DCSA discretion

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       pursuant to Department of Navy v. Egan to properly determine an applicant’s fitness

       to maintain a security clearance. See 484 U.S. 518 (1988).           Furthermore, the

       recommendations and comments therein may not         be the agency’s final position on

       the adjudication of that individual and to release that information might create

       confusion undermining the vetting process. It is reasonable, therefore, to believe that

       the application of FOIA exemption (b)(5) to those predecisional communications

       within the A1C Teixeira’s adjudicative file prevents type of harm that exemption was

       enacted to protect against.

                                     FOIA EXEMPTION 7(e)

(15)   Although not applied by FOI/P, certain portions of A1C Teixeira’s investigative file

       are exempt from release pursuant to FOIA exemption (7)(e). DCSA background

       investigations commonly include the results of a search conducted with the FBI

       though their National Name Check Program (NNCP), now known as the Enterprise

       Vetting Center – Branch 1 Records (EVC-B1), commonly referred to as a “name

       check” search. By agreement with the FBI and on their behalf, the DCSA redacts the

       results of the name check search regardless of whether the result is positive (i.e,

       denominated as “Record”) or negative (i.e, denominated as “No Record”). The

       exemption asserted by the FBI as the basis for nondisclosure of portions of documents

       is FOIA Exemption 7(E); 5 U.S.C. § 552 (b)(7)(E). FOIA exemption (b)(7)(E)

       protects those “law enforcement records [which] . . . would disclose techniques and

       procedures for law enforcement investigations, or prosecutions, or would disclose

       guidelines for law enforcement investigations or prosecutions if such disclosure could

       reasonably be expected to risk circumvention of the law.” Disclosing the results of

       the search the DCSA conducted with the FBI would risk circumvention of the law,

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       whether the name check result is positive or negative, as it would reveal whether an

       individual is of an investigative interest to the FBI, and also that conduct of the subject

       that might be of investigative interest (were there hypothetically such conduct) has

       gone undetected by the FBI, thereby providing some insight to the type or scope of

       FBI investigations and risk circumvention of the law.

(16)   The requisite foreseeable harm analysis has been conducted in the application of

       exemption (b)(7)(e). For the reasons stated above, disclosure would risk

       circumvention of the law by providing some insight to the type or scope of FBI

       investigations. Therefore, the foreseeable harm to the interests protected by

       exemption (b)(7)(e) would result from disclosure of the redacted information.

                    SEGREGATION OF NON-EXEMPT INFORMATION

(17)   The DCSA has conducted a page-by-page and line-by-line review of the records at issue in

       this Declaration for reasonable segregation of non-exempt information. No meaningful

       information from the records withheld can be made without disclosing information entitled

       to protection under the FOIA.


       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

is true and correct to the best of my knowledge. Executed on this 17th day of May, 2024,

at Boyers, Pennsylvania.

                                                BIANCO.CHRISTINA. Digitally signed by
                                                                  BIANCO.CHRISTINA.F.1074125243
                                                F.1074125243      Date: 2024.06.17 12:48:46 -04'00'

                                                Christina F. Bianco




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